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                                                                  Tuesday, 31 July, 2018 11:48:54 AM
                                                                       Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                         MOTION FOR LEAVE TO FILE REPLY

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion for Leave to File Reply states as follows:

       1.     On July 13, 2018, the Defendant filed a Sealed Motion to Compel

Discovery (Docket Number 82) and a Motion for Disclosure Pursuant to Fed.R.Cr.P.

12(b)(4) (Docket Number 81).

       2.     The Government filed Responses to those Motions on July 27, 2018.

(Docket Numbers 84, 85)

       3.     The Defendant is in the process of preparing Replies to both Responses,

and requests leave of Court to do so by Friday, August 3, 2018.

       WHEREFORE, Defendant requests that this Court enter an Order granting leave

to file a Reply to Docket Numbers 84 and 85.




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     Respectfully submitted,

     /s/Elisabeth R. Pollock                 /s/ George Taseff
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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 31, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

                                          /s/Elisabeth R. Pollock
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